                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN


WAUKESHA FLORAL & GREENHOUSES
INC. d/b/a Waukesha Floral and Waukesha
Floral and Greenhouse)

                            Plaintiff,
                                                                     Case No. 15-CV-1365
v.

JAMES POSSI,
YOUR FLORIST LLC, and
ANN M. RICE,

                            Defendants,

ERIE INSURANCE EXCHANGE,

                             Intervenor.


                              AMENDED SCHEDULING ORDER


       On October 26, 2017 the court conducted a scheduling conference. Appearing on behalf of

the plaintiff was Attorney Matthew M. Fernholz; on behalf of the defendants were Attorneys

Joseph M. Wirth and Daniel K. Miller. Appearing on behalf of intervenor was Attorney Katherine

Harrell.

       NOW, THEREFORE, IT IS HEREBY ORDERED:

1.     The parties are to disclose information concerning expert witnesses in accordance with Fed.

       R. Civ. P. 26. Defendants shall disclose expert witnesses on or before December 29, 2017.

2.     All requests for discovery must be served by a date sufficiently early so that all discovery in

       this case can be completed no later than January 31, 2018.




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3.   All dispositive pretrial motions together with briefs are to be filed in accordance with Civil

     L.R. 56, and no later than February 28, 2018. Such motions shall not be filed prior to the

     date of completion of discovery.

4.   If no dispositive motions are filed, the court will schedule a telephonic scheduling

     conference soon after the dispositive motion deadline to discuss further scheduling of the

     case. If dispositive motions are filed, the court will schedule a telephonic scheduling

     conference after resolving such motions to discuss further scheduling if resolution of the

     motions does not dispose of the case in its entirety.


     Dated at Milwaukee, Wisconsin this 26th day of October, 2017.


                                                        BY THE COURT


                                                        s/ Nancy Joseph
                                                        NANCY JOSEPH
                                                        United States Magistrate Judge




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